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 FOIA REQUEST PART   TOTAL PAGES    REDACTED      DOCUMENT         EXEMPTION                             JUSTIFICATION
                                      PAGES       DESCRIPTION        STATUS
1(a)                 435           51 pages      Medical          (b)(7)F)     Bates Pages 1, 6, 21, 30, 44, 50, 53, 65, 70, 74, 78, 95, 110, 135,
                                   withheld in   Records                       140, 152, 153, 158, 162, 168, 173, 194, 203, 217, 222, 225, 230,
                                   part                                        233, 238, 243, 258, 280, 289, 302, 304, 306, 309, 311, 316, 321,
                                                 Bates Pages 1-                327, 337, 346, 361, 377, 398, 400, 409, 420, 424 and 431 were
                                                 435                           withheld in part pursuant to Exemption (b)(7)(F).

                                                                               Exemption (b)(7)(F) was applied to withhold information
                                                                               regarding Inmate White’s AIDS/HIV status. Certain medical
                                                                               conditions, including testing positive for HIV, result in inmates
                                                                               being targeted in the correctional environment. For instance,
                                                                               inmates may wrongly associate HIV status with certain sexual
                                                                               preferences and drug use or refuse to share a cell or engage in
                                                                               other activities with inmates who are HIV positive. These
                                                                               misconceptions may result in inmates being the subject of
                                                                               threats or assault. This information is withheld for all inmates,
                                                                               regardless of whether the information is negative or positive for
                                                                               HIV.
1(b)                 32            6 pages       Psychology       (b)(7)(F)    Bates Pages 436, 437, 438, 441, 443, 446 were withheld in part
                                   withheld in   Records                       pursuant to Exemption (b)(7)(F).
                                   part
                                                 Bates Pages                   Exemption (b)(7)(f) was used to withhold the title of a specific
                                                 436-467                       staff member, which indicates the staff member oversees a
                                                                               program that addresses a group of inmates that has been
                                                                               historically targeted for threats and/or assault. This information
                                                                               has been redacted on Bates pages 441, 443, and 446. While the
                                                                               staff member may have additional duties, the information has
                                                                               been withheld as it may subject inmate White to threats or
                                                                               assault by other inmates.

                                                                               Exemption (b)(7)(f) was also used to withhold information
                                                                               regarding Inmate White’s history of sexual offenses or predation




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 FOIA REQUEST PART   TOTAL PAGES     REDACTED        DOCUMENT          EXEMPTION                            JUSTIFICATION
                                       PAGES         DESCRIPTION         STATUS
                                                                                   on Bates pages 436, 437, and 438. This information is withheld
                                                                                   for all inmates because, otherwise, inmates would be subject to
                                                                                   threats or assault if they do not produce the records showing
                                                                                   their history, or if the records show the inmate has a history of
                                                                                   sexual assault or predation.
1(c) – Part I        Original       Original        Administrative    (b)(6)       Withheld in part:
                     Release: 73    Release:        Remedies          (b)(7)(C)    Bates pages 623, 636, 638, 645, 649, 651, 653, 656, 657, 660,
                                                                      (b)(7)(E)    664, 677, 678, 681, 688, 1637, 1639 and 1640 were withheld in
                     Supplemental   23 pages         Original         (b)(7)(F)    part, with only the names, signatures, BOP identifiers and/or
                     Release: 12    withheld in      Release: Bates                initials of BOP staff being exempted pursuant to Exemptions
                                    part; 2 pages    pages 621-693                 (b)(6), (b)(7)(C) and (b)(7)(F). This information was also withheld
                                    withheld in full                               pursuant to these exemptions on Bates pages 624, 637, 1631,
                                                     Supplemental                  1635 and 1636, along with the below noted exemptions.
                                    Supplemental Release: Bates                    Disclosure of this information would constitute an unwarranted
                                    Release:         pages 1629-                   invasion into these individuals’ privacy and is likely to subject
                                                     1640                          them to threats or assault.
                                    6 pages
                                    withheld in                                    Classification assignments and Information used by the BOP for
                                    part                                           tracking and monitoring inmates was exempted from Bates
                                                                                   pages 624, 625, 637, 663, 668, 671, 673, 690, 1629, 1630, 1631,
                                                                                   1635, and 1636 pursuant to Exemptions (b)(7)(E) and (b)(7)(F).
                                                                                   Disclosure of this information would reveal law enforcement
                                                                                   techniques used for monitoring and tracking inmates which, if
                                                                                   revealed, would allow inmates to avoid detection thereby
                                                                                   endangering inmates, staff and the public. Disclosure may also
                                                                                   subject inmate White to threats or assault based on his specific
                                                                                   classification assignments.

                                                                                   Withheld in full:
                                                                                   Bates page 675 was withheld pursuant to Exemptions (b)7)(E) &
                                                                                   (b)(7)(F), while Bates page 692 was withheld pursuant to




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 FOIA REQUEST PART   TOTAL PAGES     REDACTED        DOCUMENT          EXEMPTION                            JUSTIFICATION
                                       PAGES         DESCRIPTION         STATUS
                                                                                   Exemption (b)(7)(F). Both records consist of pages from a
                                                                                   publication and are inappropriate for entry into the institution
                                                                                   based on their content. Page 675 provides information that law
                                                                                   enforcement personnel have deemed relevant for classification
                                                                                   and monitoring purposes. Revealing this information would
                                                                                   reveal the types of information that have been deemed relevant
                                                                                   for monitoring and would assist criminals in evading the
                                                                                   monitoring techniques employed by the BOP, leading to threats
                                                                                   to the safety and security of the institution and/or undetected
                                                                                   criminal activity. Both pages contain information that would
                                                                                   indicate inmate White is affiliated with groups that may subject
                                                                                   him to harassment, threats or assault by other inmates. Further,
                                                                                   since these publication pages would be considered contraband
                                                                                   in a correctional environment, permitting inmate White to
                                                                                   obtain such materials through FOIA would jeopardize the safety
                                                                                   and security of the institution.
1(c) – Part II       Original       Supplemental    Administrative    (b)(5);      Since the Original February 2018 Release (Bates pages 468-620)
                     Release: 153   Release:        Tort Claims       (b)(6);      are also included in the Supplemental Release (Bates pages
                                                                      (b)(7)(C);   1277-1628), this Vaughn Index will address only the
                     Supplemental   2 pages         Original          (b)(7)(E);   Supplemental Release Bates pages to avoid duplication.
                     Release: 352   withheld in     February 2018     (b)(7)(F)
                                    part            Release: Bates                 Withheld in part:
                                                    Pages 468-620                  Bates page 1278 withheld the name of staff pursuant to
                                    300 pages                                      Exemptions (b)(6), (b)(7)(C) & (b)(7)(F). The staff member’s
                                    withheld in full March 2018                    name was included as the person who put inmate White “under
                                                     Supplemental                  investigation.” Disclosure of this information constitutes an
                                                     Release: Bates                unwarranted invasion into this individual’s privacy and is likely
                                                     Pages 1277-                   to subject him to threats or assault by inmate White or his
                                                     1628                          followers.




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FOIA REQUEST PART   TOTAL PAGES   REDACTED   DOCUMENT      EXEMPTION                            JUSTIFICATION
                                    PAGES    DESCRIPTION     STATUS
                                                                       A staff member’s name and direct phone number was also
                                                                       exempted from Bates page 1290 pursuant to Exemptions (b)(6),
                                                                       (b)(7)(C) & (b)(7)(F). Disclosure of this personal information is
                                                                       an invasion into this individual’s privacy and may subject this
                                                                       individual to threats or assault.

                                                                       Withheld in full:
                                                                       All documents listed below in this section were withheld
                                                                       pursuant to Exemption (b)(5) as attorney-work product which
                                                                       would be privileged in context of civil discovery. These
                                                                       documents were requested by BOP counsel in anticipation of
                                                                       litigation as filing an administrative claim with the relevant
                                                                       federal agency and having that claim denied in writing is a
                                                                       jurisdictional prerequisite to suit under the Federal Tort Claims
                                                                       Act. Bates pages 1281-1282, 1323-1325, 1344-1346, 1375,
                                                                       1377-1378, 1604-1605, and 1612-1614 were also withheld
                                                                       under the deliberative process privilege under Exemption (b)(5)
                                                                       because the communication is pre-decisional and deliberative in
                                                                       nature as it makes recommendations or expresses opinions on
                                                                       legal matters—specifically, recommendations regarding the
                                                                       determination of inmate White’s administrative claims.

                                                                       Exemption (b)(7)(F) was inadvertently omitted as an additional
                                                                       exemption to withhold personal privacy information within this
                                                                       category of documents. Accordingly, for all information within
                                                                       this section withheld under Exemptions (b)(6) and (b)(7)C), the
                                                                       BOP is also asserting Exemption (b)(7)(F).
                                                                       Non-medical records
                                                                       Exemptions (b)(6) and (b)(7)(C) were applied—in addition to
                                                                       Exemption (b)(5)—to withhold the names of staff or third-
                                                                       parties for certain non-medical records as noted below, as well




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FOIA REQUEST PART   TOTAL PAGES   REDACTED   DOCUMENT      EXEMPTION                            JUSTIFICATION
                                    PAGES    DESCRIPTION     STATUS
                                                                       as to withhold direct contact information on Bates pages 1288,
                                                                       1314, 1327 and 1604. Disclosure of this information would
                                                                       constitute an unwarranted invasion into these individuals’
                                                                       privacy. While Exemption (b)(7)(F) was inadvertently omitted in
                                                                       the production of documents to withhold the personal
                                                                       information of these third parties, disclosure of this information
                                                                       is also likely to subject these individuals to threats or assault.

                                                                       Exemption (b)(7)(F) was applied, in addition to Exemption (b)(5),
                                                                       for Bates pages 1351-1352. These pages contain information
                                                                       that would indicate inmate White is affiliated with groups that
                                                                       may subject him to harassment, threats or assault by other
                                                                       inmates. Further, since these publication pages would be
                                                                       considered contraband in a correctional environment,
                                                                       permitting inmate White to obtain such materials through FOIA
                                                                       would jeopardize the safety and security of the institution.

                                                                       Medical records
                                                                       In addition to Exemption (b)(5), Exemption (b)(7)(F) was applied
                                                                       as indicated below to withhold information regarding inmate
                                                                       White’s HIV status in certain medical records for the same
                                                                       reasons indicated in Group 1(a) supra. In addition to Exemption
                                                                       (b)(5), Exemptions (b)(6) and (b)(7)(c) were applied to medical
                                                                       record, Bates page 1420, to redact the name of a third-party
                                                                       inmate. The BOP is also applying Exemption (b)(7)(F) at this
                                                                       time because disclosure of this inmate who is identified as
                                                                       fighting inmate White would subject the inmate to threats,
                                                                       harassment or assault by inmate White or his supporters

                                                                       Claim 2009-04854 (Bates Pages 1279-1291):
                                                                       Non-medical records:




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FOIA REQUEST PART      TOTAL PAGES        REDACTED         DOCUMENT          EXEMPTION                                JUSTIFICATION
                                            PAGES          DESCRIPTION         STATUS
                                                                                             (b)(5):
                                                                                             1277: Administrative Claim Details
                                                                                             1283-1287: Commissary receipts provided as attachment to
                                                                                             investigation

                                                                                             (b)(5), (b)(6) & (b)(7)(C): 1
                                                                                             1279: July 15, 2009 Memorandum to Attorney Advisor from
                                                                                             Regional Counsel seeking an investigation into claim and
                                                                                             identifying criteria of investigation
                                                                                              1281: January 11, 2010 Memorandum from Warden to
                                                                                             Attorney-Advisor addressing Warden’s recommendation based
                                                                                             on details of investigation
                                                                                              1282: August 12, 2009 Memorandum from Captain to Attorney
                                                                                             Advisor outlining investigation into the claim
                                                                                              1288: Memorandum from Attorney-Advisor to Captain
                                                                                             requesting an investigation and describing the requested
                                                                                             content of the investigation

                                                                                             Claim 2016-02696 (Bates Pages 1292-1307):
                                                                                             Non-medical records:
                                                                                             (b)(5):
                                                                                             1292: Administrative Claim Details
                                                                                             1304: September 29, 2016 Memorandum from Warden to
                                                                                             Regional Counsel addressing Warden’s recommendation based
                                                                                             on details of investigation



     1
      (b)(7)(F) is now being asserted for the same information withheld by Exemptions (b)(6) & (b)(7)(C) for all documents provided in response to
     Section 1(c), Administrative Torts.




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FOIA REQUEST PART   TOTAL PAGES   REDACTED   DOCUMENT      EXEMPTION                           JUSTIFICATION
                                    PAGES    DESCRIPTION     STATUS
                                                                       1306: Second page of September 27, 2016 Memorandum from
                                                                       Warden to Regional Counsel addressing Warden’s
                                                                       recommendation based on details of investigation

                                                                       (b)(5), (b)(6) & (b)(7)(C):
                                                                       1302: March 3, 2016 Memorandum from Regional Counsel to
                                                                       Attorney Advisor requesting investigation and describing scope
                                                                       of the investigation
                                                                       1305: September 27, 2016 Memorandum of investigation from
                                                                       Chief of Psychology Services to Attorney Advisor

                                                                       Claim 2016-05547 (Bates Pages 1308-1338):
                                                                       Non-medical records:
                                                                       (b)(5):
                                                                       1308: Administrative Claim Details
                                                                       1315: Page two of a September 13, 2016 email between staff
                                                                       and the attorney-advisor in response to the investigation of the
                                                                       administrative claim
                                                                       1324-1325: Pages two and three of the August 17, 2016
                                                                       Memorandum of investigation from the Correctional Systems
                                                                       Officer to the Attorney Advisor

                                                                       (b)(5), (b)(6) & (b)(7)(C):
                                                                       1312: August 1, 2016 Memorandum from Regional Counsel to
                                                                       Attorney Advisor requesting investigation and describing scope
                                                                       of the investigation
                                                                       1314: Page one of a September 13, 2016 email between staff
                                                                       and the attorney-advisor in response to the investigation of the
                                                                       administrative claim
                                                                       1316: Authorization form to mail inmate package provided as
                                                                       attachment to investigation




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FOIA REQUEST PART   TOTAL PAGES   REDACTED   DOCUMENT      EXEMPTION                                JUSTIFICATION
                                    PAGES    DESCRIPTION     STATUS
                                                                       1317-1322: Property forms provided as attachment to
                                                                       investigation
                                                                       1323: Page one of August 17, 2016 Memorandum of
                                                                       investigation from the Correctional Systems Officer to the
                                                                       Attorney Advisor
                                                                       1326-1327: August 16-17, 2016 emails between staff addressing
                                                                       claims in investigation provided as attachment to investigation
                                                                       1328-1330: UPS Tracking Forms provided as attachment to
                                                                       investigation
                                                                       1331: August 16, 2016 Memorandum from staff to investigator
                                                                       addressing claims in investigation provided as attachment to
                                                                       investigation
                                                                       1332-1337: Property forms provided as attachment to
                                                                       investigation

                                                                       Claim 2017-00878 (Bates Pages 1339-1553):
                                                                       Non-medical records:
                                                                       (b)(5):
                                                                       1339: Administrative Claim Details
                                                                        1344: December 23, 2016 Memorandum from Warden to
                                                                       Regional Counsel addressing Warden’s recommendation based
                                                                       on details of investigation
                                                                       1346: Page two of December 9, 2016 Memorandum of
                                                                       investigation from Correctional Systems Specialist to Executive
                                                                       Assistant
                                                                       1347-1348: October 17, 2016 letters provided as attachment to
                                                                       investigation
                                                                       1349-1350: Draft administrative remedy responses provided as
                                                                       attachment to investigation

                                                                       (b)(5); (b)(6); (b)(7)(C):




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FOIA REQUEST PART   TOTAL PAGES   REDACTED   DOCUMENT      EXEMPTION                           JUSTIFICATION
                                    PAGES    DESCRIPTION     STATUS
                                                                       1342: November 18, 2016 Memorandum from Regional Counsel
                                                                       to Attorney Advisor requesting investigation and describing
                                                                       scope of the investigation
                                                                       1345: Page one of December 9, 2016 Memorandum of
                                                                       investigation from Correctional Systems Specialist to Executive
                                                                       Assistant

                                                                       (b)(5); (b)(7)(E); (b)(7)(F):
                                                                       1351-1352: Publication pages provided as attachment to
                                                                       investigation

                                                                       Claim 2017-01631 (Bates Pages 1354-1605):
                                                                       Non-medical records:
                                                                       (b)(5):
                                                                       1354: Administrative Claim Details
                                                                        1375: March 9, 2017 Memorandum from Warden to Regional
                                                                       Counsel addressing Warden’s recommendation based on details
                                                                       of investigation
                                                                        1378: Page two of January 31, 2017 memorandum of
                                                                       investigation from Bureau staff to the Executive Assistant

                                                                       (b)(5); (b)(6); (b)(7)(C):
                                                                       1373: December 28, 2016 Memorandum from Regional Counsel
                                                                       to Attorney Advisor requesting investigation and describing
                                                                       scope of the investigation
                                                                       1377: Page one of a January 31, 2017 Memorandum of
                                                                       investigation from Bureau staff to the Executive Assistant
                                                                        1604: May 16, 2017 email from Attorney Advisor to Paralegal
                                                                       regarding potential legal approach to take in making
                                                                       administrative claim determination




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FOIA REQUEST PART   TOTAL PAGES   REDACTED   DOCUMENT      EXEMPTION                           JUSTIFICATION
                                    PAGES    DESCRIPTION     STATUS
                                                                       1605: May 15, 2017 email from paralegal to another paralegal
                                                                       addressing a legal approach recommended by attorney when
                                                                       evaluating claim

                                                                       The below medical records were used as supporting evidence
                                                                       for investigations:

                                                                       Medical Records (b)(5) only:
                                                                       1376, 1379, 1381, 1383-1412, 1414-1415, 1417-1419, 1421-
                                                                       1432, 1434-1440, 1442-1452, 1454-1457, 1459-1467, 1469-
                                                                       1475, 1477-1478, 1480, 1482-1485, 1487-1493, 1495, 1497,
                                                                       1499-4505, 1507-1515, 1517-1519, 1521-1523, 1525-1526,
                                                                       1528-1529, 1531-1542, 1545-1549, 1550-1558, 1561-1565,
                                                                       1567-1568, 1570-1574, 1578-1582, 1584-1588, 1590-1592,
                                                                       1594-1596, 1598-1602

                                                                       Medical Records (b)(5), (b)(6) & (b)(7)(C):
                                                                       1420: (b)(6) & (b)(7)(C) used to exempt name of third-party
                                                                       inmate identified as fighting with inmate White

                                                                       Medical Records (b)(5) & (b)(7)(F)—used to exempt HIV Status:
                                                                       1380, 1382, 1413, 1416, 1433, 1441, 1453, 1458, 1468, 1476,
                                                                       1479, 1481, 1486, 1494, 1496, 1498, 1506, 1516, 1520, 1524,
                                                                       1527, 1530, 1543-1544, 1559-1560, 1566, 1569, 1575-1576,
                                                                       1583, 1593, 1597

                                                                       Claim 2017-06769 (Bates Pages 1606-1628):
                                                                       Non-medical records:
                                                                       (b)(5):
                                                                       1606: Administrative Claim Details




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 FOIA REQUEST PART   TOTAL PAGES     REDACTED        DOCUMENT       EXEMPTION                            JUSTIFICATION
                                       PAGES         DESCRIPTION      STATUS
                                                                                (b)(5); (b)(6); (b)(7)(C):
                                                                                1610: September 6, 2017 Memorandum from Regional Counsel
                                                                                to Attorney Advisor requesting investigation and describing
                                                                                scope of the investigation
                                                                                1612: September 26, 2017 Memorandum of investigation from
                                                                                Intelligence Research Specialist to Executive Assistant
                                                                                1613-1614: September 26, 2017 emails among BOP staff
                                                                                addressing claims in investigation provided as attachment to
                                                                                investigation

                                                                                Medical records (b)(5) only:
                                                                                1615-1618 & 1620-1627

                                                                                Medical Records (b)(5), (b)(7)(F) )—used to exempt HIV Status:
                                                                                1619
1(d)                 54 pages      3 pages          Disciplinary   (b)(6);      Bates pages 694-697, 701, 704, 707, 708-709, 712, 714-716, 718,
                                   withheld in full Records        (b)(7)(C);   720, 725-728, 729, 731-732, 734-737 and 739 were withheld in
                                                                   (b)(7)(E);   part to withhold only names, signatures, initials and/or BOP
                                   44 pages         Bates Pages    (b)(7)(F)    identification numbers of staff pursuant to Exemptions (b)(6),
                                   withheld in      694-747                     (b)(7)(C) and (b)(7)(F).
                                   part
                                                                                In addition to the below noted exemptions, staff names, initials,
                                                                                signatures and/or BOP identification numbers were exempted
                                                                                pursuant to Exemptions (b)(6), (b)(7)(C) and (b)(7)(F) on Bates
                                                                                pages 698-700, 702-703, 705-706, 710-711, 713, 717, 721, 723,
                                                                                and 740-744. These same exemptions were also applied to
                                                                                Bates pages 722-724 to exempt third party names and/or direct
                                                                                contact information and on Bates pages 717, 721, 723, 724, and
                                                                                740-744 to exempt third-party inmate names and registration
                                                                                numbers, as well as release information for a third-party inmate
                                                                                on Bates pages 721 and 723. On Bates page 742, inmate




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FOIA REQUEST PART   TOTAL PAGES   REDACTED   DOCUMENT      EXEMPTION                            JUSTIFICATION
                                    PAGES    DESCRIPTION     STATUS
                                                                       statements related to inmate White’s discipline was also
                                                                       withheld pursuant to these exemptions.
                                                                       Disclosure of this information would constitute an unwarranted
                                                                       invasion into these individuals’ privacy and is likely to subject
                                                                       them to threats or assault.

                                                                       Other exemptions applied to Bates pages withheld in part:
                                                                       Bates pages 698, 705, 706, 711 and 713 consist of
                                                                       Administrative Detention Orders. In addition to the above-
                                                                       noted exemptions, information regarding the basis of an
                                                                       inmate’s placement in administrative detention related to a
                                                                       threat to the inmate’s safety and the method by which this
                                                                       information was ascertained is exempted pursuant to
                                                                       Exemptions (b)(7)(E) and (b)(7)(F). Disclosure of this information
                                                                       would reveal law enforcement techniques used to verify a threat
                                                                       which, if revealed, would allow inmates to manipulate the
                                                                       technique to obtain their desired outcome which could result in
                                                                       threats or assaults to inmates seeking protection. Disclosure
                                                                       would also subject inmates seeking protective custody to
                                                                       threats or assault from the inmates or group of inmates from
                                                                       whom protection is sought.

                                                                       Monitoring and tracking information was withheld on Bates
                                                                       pages 705, 706 and 711 pursuant to Exemptions (b)(7)(E) and
                                                                       (b)(7)(F). Disclosure would reveal the types of information that
                                                                       have been deemed relevant for tracking and monitoring and
                                                                       would assist criminals in evading the monitoring techniques
                                                                       employed by the BOP, leading to threats to the safety and
                                                                       security of the institution and/or undetected criminal activity.




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FOIA REQUEST PART   TOTAL PAGES   REDACTED   DOCUMENT      EXEMPTION                           JUSTIFICATION
                                    PAGES    DESCRIPTION     STATUS
                                                                       Bates pages 699, 700, 702, 703 and 710 consists of Special
                                                                       Housing Unit Records. In addition to the above-noted
                                                                       exemptions, information regarding inmate White’s separation
                                                                       information was exempted pursuant to Exemptions (b)(7)(E) and
                                                                       (b)(7)(F) on Bates pages 699 and 710, while Exemptions (b)(6),
                                                                       (b)7)(C) and (b)(7)(F) was applied to exempt the name and
                                                                       register number of an inmate from who inmate White is to be
                                                                       kept separate on Bates pages 699, 700, 702, 703 and 710.
                                                                       Revealing separation data would reveal the criteria and
                                                                       techniques used by BOP staff to make separation
                                                                       determinations, which in turn undermine the BOP’s ability to
                                                                       manage inmate-separatees. Disclosure of information about
                                                                       inmate-separatees would not only violate those inmates’
                                                                       privacy, but could result in a threat to inmate safety and to
                                                                       those BOP staff committed to inmate confinement and
                                                                       protection.

                                                                       Bates page 721 consists of inmate White’s Central Inmate
                                                                       Monitoring Request for Activity Clearance. In addition to the
                                                                       above-noted exemptions, tracking and monitoring information
                                                                       was exempted pursuant to Exemptions (b)(7)(E) and (b)(7)(F).
                                                                       Disclosure would enable inmates to evade the monitoring
                                                                       techniques which, in turn, could reasonably be expected to
                                                                       endanger the life or physical safety of staff, inmates and the
                                                                       general public.

                                                                       In addition to the above-noted exemptions, information
                                                                       regarding a potential protected status was exempted pursuant
                                                                       to Exemption (b)(7)(F) on Bates pages 741 and 744. While this
                                                                       status many not have been applied to inmate White, reference




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FOIA REQUEST PART   TOTAL PAGES   REDACTED   DOCUMENT      EXEMPTION                            JUSTIFICATION
                                    PAGES    DESCRIPTION     STATUS
                                                                       to this status in his DHO report may subject inmate White to
                                                                       threats or assault.

                                                                       Other exemptions applied to Bates pages withheld in Full:
                                                                       Bates page 722 is a Request for production of a Federal Prisoner.
                                                                       This page was withheld in full pursuant to Exemption (b)(7)(F)
                                                                       because it may contain information regarding whether an
                                                                       inmate has agreed to testify as a witness or is appearing for
                                                                       prosecution. If the inmate refuses to provide the document
                                                                       when pressured by other inmates, he is likely to be threatened
                                                                       or assaulted; if he provides the document, the information it
                                                                       contains could also lead to his being threatened or assaulted.

                                                                       Bates pages 723 and 724 were withheld in full and consist of
                                                                       emails sharing sensitive investigatory information among BOP
                                                                       staff and other staff employed by DOJ agency employees.
                                                                       Exemptions (b)(6), (b)(7)(C) and (b)(7)(F) were applied to
                                                                       withhold federal employee identification information, as well as
                                                                       direct email addresses and phone numbers. These exemptions
                                                                       were also applied to withhold third-party inmate names, register
                                                                       numbers and location information. Exemption (b)(7)(E) and
                                                                       (b)(7)(F) were also applied to withhold information used by BOP
                                                                       staff to make classification, custody and monitoring
                                                                       determinations. Disclosure of this information would not only
                                                                       invade the privacy of these individuals, but it would also subject
                                                                       them to threats or assault. Further, disclosure of the
                                                                       investigatory information would reveal the types of information
                                                                       monitored and shared, enabling inmates to avoid detection
                                                                       thereby endangering other inmates, staff and the public.




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                                      PAGES      DESCRIPTION      STATUS
1(e)                 123 pages     38 pages      SENTRY        (b)(6);      Bates pages 760-762, 764-773, 808 and 815 were withheld in
                                   withheld in   Records       (b)(7)(C);   part and only the names, signatures, initials or BOP
                                   part                        (b)(7)(E);   identification numbers of staff were exempted pursuant to
                                                 Bates Pages   (b)(7)(F)    Exemptions (b)(6), (b)(7)(C) and (b)(7)(F). In addition to the
                                                 748-867                    exemptions noted below, this personal identification
                                                                            information was also exempted pursuant to these exemptions
                                                                            on Bates pages 778, 779-793 and 806-807. Disclosure of this
                                                                            information would constitute an unwarranted invasion into
                                                                            these individuals’ privacy and is likely to subject them to threats
                                                                            or assault.

                                                                            Exemptions (b)(6), (b)7)(C) and (b)(7)(F) were also applied to
                                                                            exempt the name, register number and classification
                                                                            information of an inmate from who inmate White is to be kept
                                                                            separate on Bates pages 775-776. Revealing separation data
                                                                            would reveal the criteria and techniques used by BOP staff to
                                                                            make separation determinations, which in turn undermine the
                                                                            BOP’s ability to manage inmate-separatees. Disclosure of
                                                                            information about inmate-separatees would not only violate
                                                                            those inmates’ privacy, but could result in a threat to inmate
                                                                            safety and to those BOP staff committed to inmate confinement
                                                                            and protection.

                                                                            For Bates pages 778, 799-800, 807 & 814, classification and
                                                                            monitoring techniques were withheld pursuant to Exemptions
                                                                            (b)(7)(E) & (b)(7)(F). Disclosure of these classification and
                                                                            monitoring techniques would reveal the types of information
                                                                            that have been deemed relevant for tracking and monitoring
                                                                            and would assist criminals in evading the monitoring techniques
                                                                            employed by the BOP, leading to threats to the safety and
                                                                            security of the institution and/or undetected criminal activity.




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FOIA REQUEST PART   TOTAL PAGES   REDACTED   DOCUMENT      EXEMPTION                            JUSTIFICATION
                                    PAGES    DESCRIPTION     STATUS

                                                                        For Bates pages 806-808, direct phone numbers for staff were
                                                                       also withheld pursuant to Exemptions (b)(6), (b)(7)(C) and
                                                                       (b)(7)(F). Staff names, initials, signatures and/or BOP
                                                                       identification numbers were also exempted pursuant to these
                                                                       exemptions on Bates pages 779-793. Disclosure of this
                                                                       information constitutes an unwarranted invasion into these
                                                                       individuals’ privacy and would to subject them to threats or
                                                                       assault.

                                                                       Inmate White’s self-report regarding his history of sexually
                                                                       aggressive behavior, and his sexual identification, orientation,
                                                                       disabilities and/or vulnerabilities was also withheld on Bates
                                                                       pages 779-793 pursuant to Exemptions (b)(7)(E) & (b)(7)(F).
                                                                       Inmate White’s responses to questions regarding his
                                                                       appropriateness for general population, assistance provided to
                                                                       law enforcement, CIM Status, whether he has testified against
                                                                       anyone, is a member of a gang or has ever been sexually
                                                                       assaulted, as well as the interviewer’s notes, if any, were also
                                                                       withheld pursuant to these exemptions. Disclosure of this
                                                                       information would reveal law-enforcement techniques
                                                                       regarding the way the responses are tracked. Moreover, this
                                                                       information is withheld for all inmates, regardless of the
                                                                       inmate’s responses, as this information may subject inmates to
                                                                       threats or assault.

                                                                       On Bates pages 779, 782, 788, 792 and 793, Exemption (b)(7)(F)
                                                                       was used to withhold the interviewer’s report of the inmate’s
                                                                       comments. This information is withheld for all inmates,
                                                                       regardless of the inmate’s comments, as this information may
                                                                       subject inmates to threats or assault.




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 FOIA REQUEST PART   TOTAL PAGES    REDACTED        DOCUMENT          EXEMPTION                            JUSTIFICATION
                                      PAGES         DESCRIPTION         STATUS
1(f) & 1(g)          116 pages     110 pages        Intelligence &   (b)(6);      Withheld in part:
                                   withheld in full Communication    (b)(7)(C);   Bates pages 869-874 consist of Forms 583, Reports of Incident.
                                                    Records          (b)(7)(E);   For each of these pages, information concerning third-party
                                   6 pages                           (b)(7)(F)    inmate names, register numbers, statements, medical status,
                                   withheld in       Bates Pages                  role in the incident and tracking information was exempted
                                   part             868-983                       pursuant to Exemptions (b)(6) and (b)(7)(C) to protect these
                                                                                  inmates’ privacy interests in their personal information. This
                                                                                  information was also exempted pursuant to Exemption (b)(7)(F)
                                                                                  because this personal information was included in an incident
                                                                                  report pertaining to an inmate-on-inmate fight, which could
                                                                                  subject the inmates identified in these records to threats or
                                                                                  assault either for their involvement or providing statements.

                                                                                  Bates pages 870-871 and 874 were withheld in part, exempting
                                                                                  staff names and BOP identification numbers pursuant to
                                                                                  Exemptions (b)(6), (b)(7)(C) and (b)(7)(F). Disclosure of this
                                                                                  information would constitute an unwarranted invasion into
                                                                                  these individuals’ privacy and is likely to subject them to threats
                                                                                  or assault.

                                                                                  Exemptions (b)(7)(E) & (b)(7)(F) were also used to exempt law
                                                                                  enforcement techniques and procedures used to track and
                                                                                  monitor inmates and make custody and classification
                                                                                  determinations. Disclosure of this information would reveal the
                                                                                  types of information that have been deemed relevant by the
                                                                                  BOP or other law enforcement entities for tracking and
                                                                                  monitoring, allowing these individuals to evade detection
                                                                                  thereby endangering other inmates, staff and the public. The
                                                                                  information, if revealed, may also subject the inmates identified
                                                                                  in the documents to threats or assault.




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FOIA REQUEST PART   TOTAL PAGES   REDACTED   DOCUMENT      EXEMPTION                            JUSTIFICATION
                                    PAGES    DESCRIPTION     STATUS
                                                                       Withheld in full:
                                                                       (b)(6), (b)(7)(C), (b)(7)(E) &(b)(7)(F):
                                                                       These exemptions were used to exempt Bates pages 868, 878-
                                                                       900, 902-905, 907-910, 912-913, 915, 917-929, 959, 969-977 &
                                                                       981-983, as described below, in their entirety.

                                                                       Exemptions b)(7)(E) & (b)(7)(F) were used to withhold the
                                                                       following pages in full because disclosure would reveal the types
                                                                       of information that have been deemed relevant for tracking and
                                                                       monitoring allowing inmates to evade the monitoring
                                                                       techniques employed by the BOP, leading to threats to the
                                                                       safety and security of the institution and/or undetected criminal
                                                                       activity.

                                                                       Bates page 868 consists of a page of undated investigatory
                                                                       notes, while Bates pages 878-900 consists of an internal BOP
                                                                       report that contains sensitive monitoring and tracking
                                                                       information used by the BOP to detect criminal activity and to
                                                                       make custody and classification determinations.

                                                                       Bates pages 902-905, 907-910, 912-913, 915, 917, 969-977 &
                                                                       981 consist of sensitive investigative information shared among
                                                                       law enforcement entities.

                                                                       Bates pages 918-920 consist of an internal BOP report of
                                                                       sensitive investigative information used by law enforcement as a
                                                                       tracking and monitoring tool to make classification and custody
                                                                       determinations, as well as to detect criminal activity.

                                                                       Bates pages 921-928 consist of sensitive investigative
                                                                       information shared among law enforcement entities.




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FOIA REQUEST PART   TOTAL PAGES   REDACTED   DOCUMENT      EXEMPTION                           JUSTIFICATION
                                    PAGES    DESCRIPTION     STATUS
                                                                       Bates pages 929 & 959 consist of November 8, 2016 &
                                                                       November 26, 2012 Memoranda between BOP staff. The
                                                                       memoranda contains investigative information that describes
                                                                       monitoring and tracking techniques and the information
                                                                       gathered from those techniques.

                                                                       Bates pages 982-983 consist of May 29, 2012 & December 18,
                                                                       2008 emails between BOP staff regarding sensitive investigatory
                                                                       information relied upon to make custody and classification
                                                                       determinations and to detect crime.

                                                                       Exemptions (b)(6), (b)(7)(C) &(b)(7)(F) were used on Bates pages
                                                                       868, 878-900, 902-904, 907-909, 912, 917, 922-927, 929, 959,
                                                                       969, 970-976 and 981 to withhold the names, register numbers,
                                                                       housing assignment, addresses and other identifying
                                                                       information of third party inmates. For Bates pages 902-905,
                                                                       907-910, 913, 918-921, 929, 959, 977 and 982-983, these
                                                                       exemptions were used to withhold staff names, signatures
                                                                       initials or BOP identification numbers, as well as direct phone
                                                                       numbers and email addresses. These same exemptions were
                                                                       also used for Bates pages 878, 879, 885, 887-889, 891, 892, 894,
                                                                       895, 897 and 921 to withhold the names, addresses, phone
                                                                       numbers and emails of third parties who are neither inmates
                                                                       nor BOP staff. Disclosure of this personal information would
                                                                       constitute an unwarranted invasion into these individuals’
                                                                       privacy and is likely to subject them to threats or assault.

                                                                       (b)(7)(E) & (b)(7)(F) only:
                                                                       These exemptions were used to exempt Bates pages 875-877,
                                                                       930-958, 963-965, 901, 906, 911, 914-916, 968, 978-980, 960-
                                                                       962 & 966-967, as described below, in their entirety.




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FOIA REQUEST PART   TOTAL PAGES   REDACTED   DOCUMENT      EXEMPTION                            JUSTIFICATION
                                    PAGES    DESCRIPTION     STATUS

                                                                       Bates pages 875-877, 930-958, and 963-965 consist of pages
                                                                       from publications relied upon by law-enforcement staff to make
                                                                       custody and classification determinations regarding inmate
                                                                       White.

                                                                       Bates pages 901, 906, 911, 914, 916, 968, 978-980 consist of
                                                                       pages of sensitive investigative information shared amongst law-
                                                                       enforcement entities.

                                                                       Bates page 960 consists of a law enforcement technique used to
                                                                       track and monitor inmates, while Bates page 961 consists of a
                                                                       July 9, 2012 memorandum from a Special Investigative
                                                                       Technician to the Warden addressing the specific law-
                                                                       enforcement technique used in Bates page 960, its purpose and
                                                                       basis for application.

                                                                       Bates page 962 consists of a June 8, 2015 Memorandum from
                                                                       the Special Investigative Technician to file addressing law-
                                                                       enforcement validation technique used to monitor and track
                                                                       inmates. Bates pages 966-967 consist of a July 13, 2012 letter
                                                                       from an Assistant United States Attorney to BOP staff addressing
                                                                       sensitive investigative information regarding inmate White.

                                                                       Disclosure of the above pages would reveal the type of
                                                                       information that has been deemed relevant for tracking and
                                                                       monitoring and would assist criminals in evading the monitoring
                                                                       techniques employed by the BOP, leading to threats to the
                                                                       safety and security of the institution and/or undetected criminal
                                                                       activity.




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    FOIA REQUEST PART   TOTAL PAGES      REDACTED         DOCUMENT        EXEMPTION                            JUSTIFICATION
                                           PAGES          DESCRIPTION       STATUS
2                       0 pages        None               MCC Chicago    No Records   No records could be located due to RIDS schedule and update to
                                                          2008 SHU                    Total Maintenance System computer program in 2014.
                                                          Maintenance
                                                          Records
3                       320            Original           MCC 2008 SHU   (b)(6);      For Bates pages 985-1237 & 1139-1276, and the additional 27
                        Original       Release:           Log Books      (b)(7)(C);   pages released on June 6, 2018, the names, signatures and/or
                        Release: 293                                     (b)(7)(E);   initials of staff were exempted pursuant to Exemptions (b)(6),
                                       291 pages                         (b)(7)(F)    (b)(7)(C) and (b)(7)(F). Exemptions (b)(6), (b)(7)(C) & (b)(7)(F)
                        June 6, 2018   withheld in                                    were also used on Bates pages 996, 1007-1008, 1105, 1134-
                        Supplemental   part                                           1135, 1137-1237, and the additional 27 pages, to withhold the
                        Release: 27                                                   names, register numbers, and medical status of third-party
                                       2 pages                                        inmates. Disclosure of this information would constitute an
                                       released in full                               unwarranted invasion into these individuals’ privacy and is likely
                                                                                      to subject them to threats or assault.

                                       June 6, 2018                                   For Bates pages 985-1133, Exemptions (b)(7)(E) & (b)(7)(F) were
                                       Supplemental                                   used to exempt information reporting the status of the unit
                                       Release:                                       because disclosure would reveal the procedure used by law
                                                                                      enforcement to record incidents in the unit, the types of events
                                       27 pages                                       that are recorded, and would provide information regarding the
                                       withheld in                                    frequency of disruptions. If disclosed, this information could be
                                       part                                           used by inmates to plan assaults, escape, or other criminal
                                                                                      activity which is likely to endanger the institution, other inmates
                                                                                      and staff committed to ensuring the safety of inmates and the
                                                                                      orderly running of the institution.

                                                                                      For Bates pages 1134-1237, and the June 6, 2018 27 pages,
                                                                                      Exemptions (b)(7)(E) & (b)(7)(F) were used to exempt the times
                                                                                      reportable events occurred, information regarding the type and
                                                                                      status of law-enforcement equipment turned over to oncoming
                                                                                      staff, and equipment testing information. If disclosed, this




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FOIA REQUEST PART   TOTAL PAGES   REDACTED   DOCUMENT      EXEMPTION                             JUSTIFICATION
                                    PAGES    DESCRIPTION     STATUS
                                                                       information could be used by inmates to plan assaults, escape,
                                                                       or other criminal activity which is likely to endanger the
                                                                       institution, other inmates and staff committed to ensuring the
                                                                       safety of inmates and the orderly running of the institution.

                                                                       For Bates pages 1239-1276, Exemptions (b)(7)(E) & (b)(7)(F)
                                                                       were used to exempt the reason provided for staff entering the
                                                                       Special Housing Unit. If disclosed, this information could be
                                                                       used by inmates to verify when and why staff are meeting
                                                                       certain inmates, to discover when lock checks or evaluations of
                                                                       the unit are conducted, and other information. This information
                                                                       may be used by inmates to plan assaults, escape, or other
                                                                       criminal activity which is likely to endanger the institution, other
                                                                       inmates and staff committed to ensuring the safety of inmates
                                                                       and the orderly running of the institution.




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